     6:18-cv-01327-BHH         Date Filed 07/18/19      Entry Number 209        Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  GREENVILLE DIVISION


 JANE ROE,                                       )
                                                 )
        Plaintiff,                               )         Case No. 6:18-cv-01327-BHH
                                                 )
                      vs.                        )
                                                 )
 FURMAN UNIVERSITY, BETA THETA                   )      STIPULATION OF DISMISSAL
 PI, THE ZETA LAMBDA CHAPTER OF                  )      WITH PREJUDICE AS TO BETA
 BETA THETA PI, BETA THETA PI                    )      THETA PI AND ZETA LAMBDA
 ZETA LAMBDA HOUSING                             )      CHAPTER OF BETA THETA PI
 CORPORATION, UPSTATE AFFILIATE                  )
 ORGANIZATION D/B/A GHS, JOHN                    )
 DOE, SALLY DOE                                  )
                                                 )
        Defendants.                              )


                     STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff in the

above-captioned case, by and through the undersigned counsel, hereby dismisses Defendants

Beta Theta Pi and Zeta Lambda Chapter of Beta Theta Pi with prejudice. Defendants consent to

this dismissal with prejudice. The parties agree to bear their own respective costs.




                            [SIGNATURES ON FOLLOWING PAGE]
    6:18-cv-01327-BHH     Date Filed 07/18/19   Entry Number 209   Page 2 of 2




WE SO STIPULATE:                            WE CONSENT:

HAWKINS & JEDZINIAK, LLC
                                            MCANGUS GOUDELOCK & COURIE,
                                            LLC
s/Joshua T. Hawkins__________________
Joshua T. Hawkins                           s/Charles O.Williams_________________
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1225 South Church Street                    Fed. ID No. 5840
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ATTORNEYS FOR PLAINTIFF                     Phone: (803) 227-2235
Date: July 18, 2019                         Fax: (803) 748-0526
                                            Email: sdavies@mgclaw.com
                                            ATTORNEYS FOR BETA THETA PI
                                            Date: July 18, 2019


                                            WE CONSENT:


                                            WYCHE, P.A.

                                            s/Rita Bolt Barker____________________
                                            Rita Bolt Barker
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                                            McKinley H. Hyman
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                                            ATTORNEYS FOR ZETA LAMBDA
                                            CHAPTER OF BETA THETA PI
                                            Date: July 18, 2019
